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 5 Attorneys for Plaintiffs,
 6 FLIGHTBLITZ, INC. and DAVID KAYE
 7
 8
                      UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 FLIGHTBLITZ, INC., et al.,                      Case No. 2:21-cv-02116-CBM-KES
12                                                 DECLARATION OF ARYEH
                 Plaintiffs,                       KAUFMAN, ESQ. IN SUPPORT
13                                                 OF PLAINTIFFS’ MOTION TO
        v.                                         AMEND SCHEDULING ORDER
14                                                 PURSUANT TO FED. R. CIV. P.
      TZELL TRAVEL, LLC, et al.,                   16(b)
15
16               Defendants.
17                                                 Hearing Date:    March 25, 2025
                                                   Time:            10:00 a.m.
18                                                 Courtroom:       8D
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                                                   Judge: Hon. Consuelo B. Marshall
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                               DECLARATION OF ARYEH KAUFMAN, ESQ.
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 1                  DECLARATION OF ARYEH KAUFMAN, ESQ.
 2         I, Aryeh Kaufman, Esq., declare as follows:
 3         1.     I am an attorney duly admitted to practice law before this Court. I am
 4 the principal of the Law Office of Aryeh Kaufman, new counsel for Plaintiffs
 5 David Kaye and FlightBlitz, Inc. (collectively, “Plaintiffs”). This declaration is
 6 submitted in support of Plaintiffs’ motion to amend the scheduling order pursuant
 7 to Fed. R. Civ. P. 16(b). I have personal knowledge of the facts set forth herein,
 8 except as to those stated on information and belief and, as to those, I am informed
 9 and believe them to be true. If called as a witness, I could and would competently
10 testify to the matter stated herein.
11        2.      On February 18, 2025, I filed a request to substitute me into this case

12 as new counsel of record for Plaintiffs, and to withdraw attorney Levi Leschess.
13 D.E. 100.
14         3.     Also on February 18, 2025, I filed an opposition to Defendant’s

15 motion to dismiss this case for failure to prosecute. D.E. 101.
16      4.      On February 19, 2025, Defendants filed an opposition to the

17 substitution request. D.E. 102.
18        5.     On February 20, 2025, I emailed Ryan Cosgrove to meet and confer
     on Plaintiffs upcoming motion for relief from the Scheduling Order.
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           6.     I received a response a short time later from Denise Gunter stating
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     that she cannot meet and confer with me because I am not an attorney of record on
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     this case.
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           7.     Due to the opposition by Defendants to the request I made on
23
     February 18, 2025, and there refusal to meet and confer with me, I filed a notice of
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     appearance (form G-123) on February 21, 2025.
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           8.     However, Defendants’ counsel still would not meet and confer with
26
     me.
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                             DECLARATION OF ARYEH KAUFMAN, ESQ.
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 1         9.    Defendants position is that the Court needs to let Levi Lesches out of
 2 the case before I can become counsel of record, and that the “Court needs to
 3 determine whether this case is dead or alive before conversations about extending
 4 lapsed deadlines can take place.”
 5       10. A true and correct copy of the meet and confer thread is attached
 6 hereto as Exhibit A.
 7       I declare under penalty of perjury under the law of the United States of

 8 American, that I have read the foregoing declaration and that the facts stated in it
 9 are true.
10         Executed February 21, 2025, at Los Angeles County, California.

11
                                           By: /s/ Aryeh Kaufman
12                                                Aryeh Kaufman, Esq., declarant
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                            DECLARATION OF ARYEH KAUFMAN, ESQ.
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                Exhibit A
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